Case 2:14-cv-07621-CAS-FFM Document 36 Filed 04/06/15 Page 1 of 33 Page ID #:838




    1 Jeffrey N. Williams (SBN 274008)
      jwilliams@wargofrench.com
    2 WARGO & FRENCH LLP
      1888 Century Park East, Suite 1520
    3 Los Angeles, CA 90067
    4 Telephone: 310-853-6300
      Facsimile: 310-853-6333
    5
      J. Scott Carr (SBN 136706)
    6 scarr@wargofrench.com
    7 WARGO & FRENCH LLP th
      999 Peachtree Street, N.E., 26 Floor
    8 Atlanta, GA 30309
      Telephone: 404-853-1500
    9 Facsimile: 404-853-1501
   10 Attorneys for Defendants TWC Administration LLC, Time Warner Cable Inc., and
   11 Time Warner NY Cable LLC
   12                      UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
   13
   14 DAISY VASQUEZ, an individual and on        Case No. CV14-7621-CAS (FFMx)
      behalf of all others similarly situated;
   15 BRYAN JOSEPH, an individual and on         DEFENDANTS’ NOTICE OF
      behalf of all others similarly situated    MOTION AND MOTION FOR
   16                                            SUMMARY JUDGMENT OR, IN
                    Plaintiffs,                  THE ALTERNATIVE, PARTIAL
   17                                            SUMMARY JUDGMENT;
   18       v.                                   MEMO. OF POINTS AND
                                                 AUTHORITIES IN SUPPORT
   19 TWC ADMINISTRATION LLC, a
      Delaware limited liability company; TIME   Date: May 4, 2015
   20 WARNER CABLE INC., a Delaware              Time: 10:00 a.m.
   21 Corporation; TIME WARNER NY                Courtroom: 5
      CABLE LLC, a limited liability company
   22 and DOES 1 to 50, inclusive,               [Statement of Uncontroverted Facts
                                                 and Conclusions of Law, Request for
   23              Defendants.                   Judicial Notice, and Declarations of
                                                 Natisha Carn, Lorena Abel, and J.
   24                                            Scott Carr filed concurrently
   25                                            herewith]

   26                                            [Proposed Order lodged concurrently
                                                 herewith]
   27
   28                                            Hon. Christina A. Snyder

                      DEFS.’ NTC OF MTN AND MTN FOR SUMMARY JUDGMENT
Case 2:14-cv-07621-CAS-FFM Document 36 Filed 04/06/15 Page 2 of 33 Page ID #:839




    1              TO THE HONORABLE COURT, ALL PARTIES AND THEIR
    2                                ATTORNEYS OF RECORD:
    3            PLEASE TAKE NOTICE that on May 4, 2015, at 10:00 a.m., in Courtroom 5
    4 of the United States District Court for the Central District of California, located at 312
    5 North Spring Street Los Angeles, CA 90012-4701, Defendants TWC Administration
    6 LLC (“TWCA”), Time Warner Cable Inc. (“TWCI”), and Time Warner NY Cable
    7 LLC (“TNY”) (collectively “TWC” or “Defendants”), will and hereby do move the
    8 Court for summary judgment, or in the alternative, for partial summary judgment
    9 against Plaintiffs Daisy Vazquez1 and Bryan Joseph (“Plaintiffs”) pursuant to Rule 56
   10 of the Federal Rules of Civil Procedure.
   11            This Motion is made on the ground that the three theories of relief underlying
   12 Plaintiffs’ operative Second Amended Class Action Complaint (“SAC”) [D.E. #23]
   13 are meritless and fail as a matter of law. Specifically, Plaintiffs have alleged two
   14 overtime theories. Plaintiffs’ first overtime theory, their “hours worked” theory,
   15 alleges that TWC undercalculated their overtime pay by considering vacation,
   16 holiday, and personal hours as “hours worked.” Plaintiffs’ second overtime theory,
   17 their “fiscal month” theory, contends that rather than calculating their additional
   18 overtime resulting from their commission and “scorecard” payments on a workweek
   19 basis, TWC was instead required to calculate that overtime on a fiscal month basis
   20 that matched the fiscal month pay cycle for these payments. Both of Plaintiffs’
   21 overtime theories fail because TWC’s calculation methodologies are consistent with
   22 both the plain language and spirit of the law, and were not designed to underpay
   23 employees. In fact, TWC’s calculations benefit employees, and even if Plaintiffs’
   24 theories had any legal merit—they do not—the undisputed facts nevertheless
   25 demonstrate that TWC paid both Plaintiffs vastly more than they would have been
   26 paid pursuant to the methodologies they have themselves proposed in this lawsuit.
   27
        1
   28       Plaintiff Daisy Vazquez’s last name is misspelled in the caption.
                                                   -1-
                          DEFS.’ NTC OF MTN AND MTN FOR SUMMARY JUDGMENT
Case 2:14-cv-07621-CAS-FFM Document 36 Filed 04/06/15 Page 3 of 33 Page ID #:840




    1 Thus, given that Plaintiff were not underpaid or damaged by TWC’s purported
    2 calculations, no liability can attach under either federal or California law, and
    3 moreover, Plaintiffs entirely lack Article III constitutional standing to assert their
    4 overtime claims against TWC.
    5         Plaintiffs’ third theory, their “piece-rate” theory, has nothing to do with
    6 overtime but instead alleges that TWC violated California Labor Code Section 226(a)
    7 by mischaracterizing Plaintiffs’ commissions as commission payments (not required
    8 to be itemized on the wage statement), rather than piece-rate payments (required to be
    9 itemized on the wage statement). This theory fails, however, because the payments in
   10 question were in fact sales commissions as a matter of law, and therefore did not need
   11 to be itemized on Plaintiffs’ wage statements as piece-rate payments would.
   12         Finally, Plaintiffs assert claims under California law for wage statement and
   13 waiting time penalties that are entirely derivative of their “hours worked” and “fiscal
   14 month” overtime theories, and which therefore fail for the same reasons as those
   15 meritless theories. These derivative claims also fail as a matter of law because there
   16 is a good faith dispute as to whether TWC owes Plaintiffs any additional wages.
   17 Plaintiffs’ derivative wage statement claim fails for the additional reason that
   18 Plaintiffs’ wage statements were, in fact, accurate. Indeed, Plaintiffs contend that
   19 instead of being provided with accurate wage statements reflecting the amounts they
   20 were actually paid (as they acknowledge was the case), they should have been
   21 provided with inaccurate wage statements reflecting the additional overtime they
   22 contend they should have been, but were not, actually paid. This theory of relief
   23 turns the intent of the wage statement statute on its head and is nothing more than a
   24 transparent attempt to obtain an impermissible multiple recovery on the underlying
   25 overtime claims. Thus, Plaintiffs’ derivative claims lack any merit whatsoever.
   26         This Motion follows the conference of counsel pursuant to L.R. 7-3 on March
   27 16, 2015. The parties have conferred extensively on this Motion, as well as TWC’s
   28 previously-filed motion to bifurcate [D.E. #28], having exchanged views on these
                                                 -2-
                        DEFS.’ NTC OF MTN AND MTN FOR SUMMARY JUDGMENT
Case 2:14-cv-07621-CAS-FFM Document 36 Filed 04/06/15 Page 4 of 33 Page ID #:841




    1 issues on March 16, March 19, March 24 and March 26-27, 2015. On March 19, after
    2 having reviewed a March 16 e-mail from TWC containing the grounds for both
    3 motions, Plaintiffs’ counsel sent an e-mail in which they stated they would oppose
    4 both motions. This exhausted TWC’s L.R. 7-3 obligations, as it was clear that there
    5 was to be no agreement on either motion. However, in that same e-mail, Plaintiffs’
    6 counsel inexplicably continued to demand a further telephone conference. On March
    7 24, the parties conferred again and, as Plaintiffs’ counsel made clear on March 19,
    8 they refused to agree to any of the issues raised in either motion.
    9         Subsequently, Plaintiffs’ counsel emailed TWC’s counsel threatening to seek
   10 ex parte relief to: (1) advance the hearing date on their motion to compel certain
   11 classwide discovery; and (2) postpone the hearing date of TWC’s Motion for
   12 summary judgment to permit Plaintiffs to simultaneously litigate their own cross-
   13 motion for summary judgment. TWC responded the same day, offering (again) to
   14 agree to a briefing schedule for cross-motions for summary judgment, subject to a
   15 bifurcated schedule that eliminated Plaintiffs’ stated basis for ex parte relief.
   16 Plaintiffs again refused to agree to any sort of compromise. Nevertheless, TWC
   17 elected to delay its filing of its summary judgment motion to April 6, 2015, giving
   18 Plaintiffs the opportunity to file their cross-motion the same day.
   19 //
   20 //
   21 //
   22 //
   23 //
   24 //
   25 //
   26 //
   27 //
   28 //
                                                 -3-
                        DEFS.’ NTC OF MTN AND MTN FOR SUMMARY JUDGMENT
Case 2:14-cv-07621-CAS-FFM Document 36 Filed 04/06/15 Page 5 of 33 Page ID #:842




    1        This Motion is based upon this Notice of Motion and Motion for Summary
    2 Judgment, the attached Memorandum of Points and Authorities, Statement of
    3 Uncontroverted Facts and Conclusions of Law, Request for Judicial Notice, and
    4 Declarations of Natisha Carn, Lorena Abel, and J. Scott Carr filed concurrently
    5 herewith, the complete files and records in this action, and upon such other matters as
    6 the Court may allow.
    7
    8 Dated: April 6, 2015                    WARGO & FRENCH LLP
    9
                                              By: s/ J. Scott Carr
   10                                             J. SCOTT CARR
   11                                             JEFFREY N. WILLIAMS
   12                                         Attorneys for Defendants TWC
   13                                         Administration LLC, Time Warner Cable Inc.,
                                              and Time Warner NY Cable LLC
   14
   15
   16
   17
   18
   19
   20
   21
   22
   23
   24
   25
   26
   27
   28
                                                -4-
                       DEFS.’ NTC OF MTN AND MTN FOR SUMMARY JUDGMENT
Case 2:14-cv-07621-CAS-FFM Document 36 Filed 04/06/15 Page 6 of 33 Page ID #:843




    1                                          TABLE OF CONTENTS
    2 I.       INTRODUCTION ............................................................................................1
    3 II.      STATEMENT OF UNDISPUTED FACTS ......................................................4
    4          A.  Undisputed Facts Relevant to the “Hours Worked” Theory ................... 4
               B.  Undisputed Facts Relevant to the “Fiscal Month” Theory...................... 5
    5
               C.  Undisputed Facts Demonstrating That Plaintiffs’ Overtime
    6              Calculation Theories Would Have Significantly Reduced Their
                   Compensation ........................................................................................ 7
    7
               D.  Undisputed Facts Relevant to the “Piece-Rate” Theory ......................... 8
    8
        III.   ARGUMENT ...................................................................................................8
    9          A.  Plaintiffs’ “Hours Worked” Overtime Theory is Meritless..................... 8
   10              1.     Plaintiffs Enjoyed a Tremendous Benefit From TWC’s
                          Inclusion of PTO as “Hours Worked” When Determining
   11                     Overtime...................................................................................... 9
   12              2.     The Law Permits PTO Hours to be Included in “Hours
                          Worked” .................................................................................... 10
   13
               B.  Plaintiffs’ “Fiscal Month” Overtime Theory is Meritless ..................... 12
   14              1.     Overtime Calculations Must Be Made On a Workweek Basis ... 13
   15              2.     TWC’s Allocation Method Is Consistent With the Applicable
                          Regulations................................................................................ 14
   16
                   3.     TWC’s Methodology Is Reasonable and Equitable .................... 15
   17
               C.  Plaintiffs’ Overtime Theories Fail Because They were not
   18              Underpaid ............................................................................................ 18
   19          D.  Plaintiffs Lack Constitutional Standing to Pursue Their Overtime
                   Theories............................................................................................... 18
   20          E.  Plaintiffs’ “Piece-Rate” Wage Statement Theory is Meritless .............. 18
   21          F.  Plaintiffs May Not Use Entirely Derivative Wage Statement and
                   Waiting Time Claims to Inflate Their Alleged Damages...................... 20
   22
                   1.     Plaintiffs’ Derivative Wage Statement Claim Fails Because
   23                     Their Wage Statements Complied with Labor Code Section
                          226............................................................................................. 20
   24
                   2.     Plaintiffs’ Waiting Time Claim Fails Because They Were
   25                     Overpaid .................................................................................... 23
   26              3.     Plaintiffs’ Claim for Waiting Time Penalties Fails Because
                          There is a Good Faith Dispute as to Whether There Are Any
   27                     Unpaid Wages Owed ................................................................. 24
   28 IV.      CONCLUSION ..............................................................................................25
                                                     -i-
                            DEFS.’ NTC OF MTN AND MTN FOR SUMMARY JUDGMENT
Case 2:14-cv-07621-CAS-FFM Document 36 Filed 04/06/15 Page 7 of 33 Page ID #:844




    1                                             TABLE OF AUTHORITIES
    2                                                                                                                      Page(s)

    3 Cases
    4 Aaron v. City of Wichita, Kan.,
    5   54 F. 3d 652 (10th Cir. 1995)...........................................................................11

    6 Alonzo v. Maximus, Inc.,
         832 F. Supp. 2d 1122 (C.D. Cal. 2011) ..........................................................8, 9
    7
    8 Alvarado v. Corporate Cleaning Serv., Inc.,
         07 C 06361, 2013 WL 6184044 (N.D. Ill. Nov. 18, 2013) .........................18, 19
    9
      Areso v. Carmax, 195 Cal. App. 4th 996 (2011) ...................................................18
   10
   11 Barrentine v. Arkansas-Best Freight Sys., Inc.,
         450 U.S. 728 (1981).........................................................................................10
   12
      Bellinghausen v. Tractor Supply Co.,
   13    C-13-02377 JSC, 2014 WL 465907 (N.D. Cal. Feb. 3, 2014) ..........................21
   14
      Boston v. United Florala, Inc.,
   15    No. 2:14CV240-WHA, 2015 WL 1020577 (M.D. Ala. Mar. 9, 2015) .............13
   16 Brian Driscoll, et. al. v. Graniterock Company,
   17    1-08-CV-103426, 2011 WL 10366147 (Santa Clara Cty. Sup. Ct. Sept. 20, 2011)
         .........................................................................................................................21
   18
   19 Chavez v. City of Albuquerque,
         630 F.3d 1300 (10th Cir. 2011)........................................................................13
   20
      Gonzalez v. Downtown LA Motors, LP,
   21
         215 Cal. App. 4th 36 (2013).............................................................................10
   22
      Jones v. Spherion Staffing LLC,
   23    LA CV11-06462 JAK, 2012 WL 3264081 (C.D. Cal. Aug. 7, 2012) .........21, 23
   24
      Magnoni v. Smith & Laquercia,
   25    483 F. App’x 613 (2d Cir. 2012)......................................................................13
   26 Monzon v. Schaefer Ambulance Serv.,
   27   224 Cal.App.3d 16 (1990)................................................................................13

   28
                                                          -ii-
                                 DEFS.’ NTC OF MTN AND MTN FOR SUMMARY JUDGMENT
Case 2:14-cv-07621-CAS-FFM Document 36 Filed 04/06/15 Page 8 of 33 Page ID #:845




    1 Nguyen v. Baxter Healthcare Corp.,
         8:10-CV-01436-CJC, 2011 WL 6018284 (C.D. Cal. Nov. 28, 2011) ...............21
    2
      O'Brien v. Town of Agawam,
    3    482 F. Supp. 2d 115 (D. Mass. 2007)...............................................................10
    4
      Pedroza v. PetSmart, Inc.,
    5    ED CV 11-298 GHK DTB, 2012 WL 9506073 (C.D. Cal. June 14, 2012).......22
    6 Taylor v. West Marine Prods., Inc.,
    7    No. C 13–04916 WHA, 2014 WL 4683926 (N.D. Cal. Sept. 19, 2014) ...........13
    8 Statutes
    9 29 U.S.C. § 207(a)(1)............................................................................................12
   10
      8 Cal. Code Regs. § 13520..............................................................................23, 24
   11
      Cal. Lab. Code § 203 ......................................................................................22, 23
   12
   13 Cal. Lab. Code § 226 ......................................................................................20, 21
   14 Cal. Lab. Code § 226(a)..................................................................................18, 21
   15 Cal. Lab. Code § 226(a)(9) ...................................................................................20
   16 Cal. Lab. Code § 226(e)(1) .............................................................................20, 22
   17
      Cal. Lab. Code § 226(e)(2) ...................................................................................20
   18
      Other Authorities
   19
   20 29 C.F.R. § 778.103..............................................................................................13
   21 29 C.F.R. § 778.109.................................................................................. 10, 11, 13
   22 29 C.F.R. § 778.119.................................................................................. 14, 15, 16
   23
      29 C.F.R. § 778.120..............................................................................................15
   24
      29 C.F.R. § 778.120(a)..........................................................................................15
   25
      29 C.F.R. § 778.209(a)-(b)....................................................................................15
   26
   27 29 C.F.R. § 778.218........................................................................................10, 11
   28
                                                        -iii-
                               DEFS.’ NTC OF MTN AND MTN FOR SUMMARY JUDGMENT
Case 2:14-cv-07621-CAS-FFM Document 36 Filed 04/06/15 Page 9 of 33 Page ID #:846




    1                MEMORANDUM OF POINTS AND AUTHORITIES
    2                                   I. INTRODUCTION
    3         In a classic case of “no good deed” goes unpunished, Plaintiffs’ counsel have
    4 concocted novel overtime theories that seek to impose liability on TWC for paying
    5 Plaintiffs hundreds of dollars more in overtime than they would have received under
    6 the alternate calculation methodologies their counsel proposes. Unlike the typical
    7 overtime claim, however, Plaintiffs here do not contend that TWC failed to pay them
    8 for any overtime hours they worked. Instead, Plaintiffs argue only that TWC should
    9 have calculated the “regular rate of pay” differently on certain occasions. As shown
   10 below, however, Plaintiffs’ novel theories fail as a matter of law, as TWC’s overtime
   11 calculations do not underpay employees, and the law simply does not require that
   12 employers use the alternate methodologies proposed by their counsel.
   13         Plaintiffs’ first overtime theory contends that TWC should not have counted
   14 holiday, vacation and personal hours (“paid time off” or “PTO”) toward the total
   15 number of hours worked in a workweek when determining an employee’s overtime
   16 pay (the “hours worked” theory). (SAC, ¶ 20(a).) Plaintiffs theorize that including
   17 PTO in the overtime calculation diluted their regular rate of pay and thus caused their
   18 overtime pay to be a few pennies less than it would have been had TWC not counted
   19 PTO as “hours worked.” Plaintiffs are wrong as a matter of both law and fact. The
   20 applicable regulations demonstrate that counting PTO toward “hours worked” is
   21 permissible so long as the employer treats the PTO consistently—that is, as “hours
   22 worked” for all purposes of the overtime calculation—and its methodology is not
   23 designed to underpay employees. Here, TWC’s inclusion of PTO in “hours worked”
   24 is unquestionably lawful and in fact designed to overpay employees, as it causes
   25 overtime premiums to be paid even when employees have not actually worked over
   26 40 hours in a week or 8 hours in a day. For example, in one workweek Vazquez
   27 worked 40.50 “actual” hours but also received holiday pay for an additional 8 hours,
   28 and therefore TWC deemed her to have worked 48.50 total hours (rather than 40.50
                                                -1-
                       DEFS.’ NTC OF MTN AND MTN FOR SUMMARY JUDGMENT
Case 2:14-cv-07621-CAS-FFM Document 36 Filed 04/06/15 Page 10 of 33 Page ID #:847




     1 hours) in that week. Thus, TWC’s practice credited Vazquez with additional
     2 overtime hours to which she would not otherwise have been entitled, resulting in a
     3 significant overpayment to her.
     4         Plaintiffs’ second overtime theory contends that when Plaintiffs received
     5 certain commission and scorecard payments pursuant to a fiscal month pay cycle,
     6 TWC was required to use the fiscal month to recalculate the overtime due on such
     7 compensation (the “fiscal month” theory). (SAC, ¶20(b).) Notably, unlike the
     8 typical allocation case, Plaintiffs cannot argue that TWC excluded such payments
     9 from the overtime rate, as it is undisputed that every penny of scorecard or
    10 commission compensation was included in TWC’s overtime calculations. Rather,
    11 Plaintiffs contend only that because the fiscal month pay cycle often did not coincide
    12 exactly with TWC’s defined workweeks, TWC was prohibited from allocating that
    13 compensation to TWC’s defined workweeks and calculating the overtime due on
    14 such compensation on a workweek-by-workweek basis, but was instead required to
    15 calculate such overtime over the exact hours of the commission/scorecard fiscal
    16 month pay cycle. Notably, no court has held that an employer can abandon its
    17 defined workweek in this manner, and the applicable regulations expressly endorse
    18 allocation across workweeks, as TWC did here. Further, where, as here, the
    19 earnings period does not precisely match the workweeks, the applicable regulations
    20 require only that the employer use a “reasonable and equitable” allocation method,
    21 which TWC unquestionably did.
    22         The reasonableness of TWC’s overtime calculations is confirmed by Plaintiffs’
    23 own experiences. Indeed, far from underpaying Plaintiffs, TWC’s methodologies
    24 paid Joseph approximately $346.47 more than he would have received under
    25 Plaintiffs’ proposal, while Vazquez received an additional $167.20. There can
    26 simply be no liability under the governing federal Fair Labor Standards Act
    27 (“FLSA”) or corresponding California law when the employee has received more in
    28 wages than he was entitled. For the same reason, Plaintiffs lack Article III
                                                 -2-
                        DEFS.’ NTC OF MTN AND MTN FOR SUMMARY JUDGMENT
Case 2:14-cv-07621-CAS-FFM Document 36 Filed 04/06/15 Page 11 of 33 Page ID #:848




     1 constitutional standing to pursue their overtime claims. That is, because both
     2 Plaintiffs gained hundreds of dollars of compensation as a result of TWC’s
     3 overtime calculations, neither Plaintiff has suffered an “injury in fact.”
     4         Plaintiffs’ third claim is for alleged wage statement violations, and contends
     5 that Plaintiffs’ sales commissions were actually piece-rate payments that TWC was
     6 required to specifically itemize on Plaintiffs’ wage statements. (SAC, ¶16, 21(d).)
     7 Plaintiffs are wrong. A “piece rate” is paid to an employee for every item produced
     8 or procedure completed, while a commission rewards an employee for every product
     9 sold. Here, it is undisputed that TWC did not pay Plaintiffs, who were customer
    10 service representatives, for each customer interaction (which would have included
    11 non-sales inquiries such as billing inquiries), but instead rewarded them only for
    12 selling services to customers—a classic commission.
    13         Finally, Plaintiffs attempt to obtain a multiple recovery on their overtime
    14 theories by tacking on derivative claims for wage statement and waiting time
    15 penalties under California law. (SAC, ¶21(a)-(c), 23.) These derivative claims fail at
    16 the outset because the underlying claims on which they rely fail, as set forth above.
    17 In any event, though, even if Plaintiffs’ underlying theories had any merit, their
    18 derivative wage statement and waiting time penalty claims would still fail because
    19 they cannot be premised solely on the alleged underpayment of overtime wages.
    20 Indeed, Plaintiffs’ wage statements were accurate, and their derivative claim attempts
    21 to turn the statute on its head by contending that TWC was required to provide them
    22 with inaccurate wage statements reflecting amounts they were not actually paid and
    23 only now contend they were owed. Both derivative claims also fail on the
    24 independent ground that there is a good faith dispute as to whether TWC owes any
    25 additional overtime at all (a safe harbor inserted into the penalty statutes for this very
    26 reason—i.e., to prevent the claims from being used for an unwarranted multiple
    27 recovery). Plaintiffs’ waiting time claim also fails because Plaintiffs simply were not
    28
                                                  -3-
                         DEFS.’ NTC OF MTN AND MTN FOR SUMMARY JUDGMENT
Case 2:14-cv-07621-CAS-FFM Document 36 Filed 04/06/15 Page 12 of 33 Page ID #:849




     1 owed anything at the time of their discharge, given that TWC’s overtime calculations
     2 did not result in a net underpayment.
     3         At its core, this is a case involving novel wage-and-hour theories which, even
     4 if legally correct (they are not), did not result in any actual underpayment to
     5 Plaintiffs. Plaintiffs’ counsel have merely invented these novel theories in an attempt
     6 to trigger penalties and obtain a large fee award, at the expense of current and future
     7 employees who would be deprived of the clear benefits of TWC’s calculation
     8 methodologies. At the end of the day, however, the claims alleged in Plaintiffs’ SAC
     9 are wholly meritless, and TWC is entitled to summary judgment.
    10                    II.   STATEMENT OF UNDISPUTED FACTS
    11 A. Undisputed Facts Relevant to the “Hours Worked” Theory
    12         As non-exempt California employees, Plaintiffs earned overtime premiums for
    13 every hour they logged in excess of 8 in a day or 40 in a workweek. (Statement of
    14 Uncontroverted Facts & Conclusions of Law filed concurrently herewith (“SUF”),
    15 ¶1.) For purposes of “hours worked,” TWC included PTO hours as well as hours in
    16 which its employees were actually on-the-job. (SUF, ¶2.) Thus, even if Plaintiffs did
    17 not actually work 8 hours in a day or 40 in a week, they could still be paid overtime
    18 compensation if they took PTO that, when added to the hours they actually worked,
    19 caused their total hours to exceed 8 in a day or 40 in a week. (SUF, ¶3.)
    20         Despite this obvious benefit of TWC’s methodology, Plaintiffs contend that by
    21 including PTO as “hours worked” TWC improperly diluted their regular rate of pay
    22 and, in turn, their overtime pay. (SAC, ¶20(a).) Notably, however, Plaintiffs’ theory
    23 ignores the fact that, again, TWC’s inclusion of PTO as “hours worked” caused them
    24 to be paid significant amounts of overtime compensation in workweeks when they did
    25 not actually work over 40 hours. (SUF, ¶2-3.)
    26         For example, during the workweek ending January 19, 2012, Vazquez worked
    27 5 days and accrued 40.50 hours of on-the-job time (39.5 straight-time hours and 1
    28 hour of overtime), but also received holiday pay for an additional 8 hours that she did
                                                  -4-
                         DEFS.’ NTC OF MTN AND MTN FOR SUMMARY JUDGMENT
Case 2:14-cv-07621-CAS-FFM Document 36 Filed 04/06/15 Page 13 of 33 Page ID #:850




     1 not work (on Martin Luther King Day). (SUF, ¶4.) Under Plaintiffs’ theory—i.e.,
     2 that PTO should not be counted as “hours worked”—Vazquez should have been
     3 credited with 47.5 straight time hours (39.5 worked hours + 8 PTO hours) and only
     4 one (daily) overtime hour, but she was instead credited with 40 straight time hours
     5 and 8.5 overtime hours because she was deemed to have worked 48.50 hours (40.50
     6 worked hours + 8 PTO hours). (SUF, ¶5.) Thus, Plaintiffs’ theory would have
     7 required Vazquez to give up the 7.5 additional hours of overtime she was credited
     8 with precisely because TWC included PTO as “hours worked” in the overtime
     9 calculation. (SUF, ¶6.) Ultimately, for this reason, Vazquez received over 70 dollars
    10 more this workweek under TWC’s method than under Plaintiffs’ method. (Id.) In
    11 fact, as shown in Part II.C below, both Plaintiffs earned significantly more under
    12 TWC’s overtime calculation practices than they would have earned under the
    13 alternate methodologies Plaintiffs’ counsel have concocted.
    14 B.    Undisputed Facts Relevant to the “Fiscal Month” Theory
    15         As required by law, TWC has established a defined workweek for the purposes
    16 of calculating overtime compensation. TWC’s defined workweek runs from Friday to
    17 Thursday. (SUF, ¶11.) Likewise, as required by California law, TWC utilized two-
    18 week pay periods and paid Plaintiffs any overtime premiums they were owed for each
    19 workweek in each such pay period. (SUF, ¶12.)
    20         Plaintiffs were subject to various compensation plans, at various times, that
    21 provided them with “scorecard” and/or commission compensation in addition to their
    22 hourly wages. (SUF, ¶13.) For example, as a Customer Care Professional, Joseph
    23 was eligible to earn commissions “based on the dollar amount paid per installed core
    24 product [and] determined based on the total core products installed during a scorecard
    25 cycle.” (SUF, ¶14.)2 The “scorecard” portion of the compensation plan was likewise
    26
         2
    27  TWC utilized the word “installed” in this context to distinguish between sales made
       by the employee but never completed (for example, if a customer cancelled a
    28 purchase between the time of the sale and the install date such that the services were
                                                 -5-
                        DEFS.’ NTC OF MTN AND MTN FOR SUMMARY JUDGMENT
Case 2:14-cv-07621-CAS-FFM Document 36 Filed 04/06/15 Page 14 of 33 Page ID #:851




     1 calculated separately every pay cycle based on Joseph’s score on various performance
     2 benchmarks. (SUF, ¶15.) The scorecard ratings directly affected Joseph’s
     3 commissions, as he was eligible for higher commission rates at higher scorecard
     4 levels. (SUF, ¶16.) Because commissions depend on scorecard level, commissions
     5 could not be calculated, and were not due, until the end of the pay cycle when the
     6 scorecard was calculated. (SUF, ¶17.)
     7         Some (but not all) of these compensation plans operated on a “fiscal month”
     8 pay cycle, running from the 19th of the month to the 18th of the following month.
     9 (SUF, ¶18.) Because the fiscal month runs from the 19th through the 18th, it does not
    10 necessarily coincide perfectly with TWC’s defined workweeks (i.e., Friday to
    11 Thursday). (SUF, ¶19.) Thus, the fiscal month can, and often does, start or end in the
    12 midst of a defined workweek. (SUF, ¶20.) Stated another way, a single workweek
    13 could encompass the end of one fiscal month as well as the start of the next, meaning
    14 that if TWC were to try to recalculate overtime on a fiscal month basis, there would
    15 be “outlier” workweeks (weeks that included days outside the fiscal month) that
    16 would have to be treated differently than those that fell entirely within the fiscal
    17 month. (SUF, ¶21.)
    18         At the end of the fiscal month, when Plaintiffs’ commission and scorecard
    19 compensation was calculable, TWC recalculated and supplemented Plaintiffs’
    20 overtime payments to account for that additional compensation. (SUF, ¶22.)
    21 However, contrary to Plaintiffs’ allegation that TWC “randomly allocated” these
    22 payments to “weeks of its choosing” (SAC, ¶20(b)), TWC allocated the scorecard and
    23 commission compensation evenly across TWC’s defined workweeks. (SUF, ¶23).
    24 When those workweeks did not coincide perfectly with the fiscal month pay cycle,
    25 TWC allocated the scorecard/commission compensation evenly across the workweeks
    26 that most closely aligned with the fiscal month. (SUF, ¶24.) TWC then recalculated
    27
       not ultimately installed) and completed, installed sales. (Id.) For obvious reasons,
    28 employees were only paid a commission for completed, installed sales. (Id.)
                                                  -6-
                         DEFS.’ NTC OF MTN AND MTN FOR SUMMARY JUDGMENT
Case 2:14-cv-07621-CAS-FFM Document 36 Filed 04/06/15 Page 15 of 33 Page ID #:852




     1 Plaintiffs’ overtime pay for each such workweek, including all of the scorecard and/or
     2 commission compensation for that cycle, and paid Plaintiffs the difference between
     3 the original overtime premiums and the higher, restated premiums. (SUF, ¶25.)
     4         It is undisputed that TWC allocated all of Plaintiffs’ commission and scorecard
     5 payments to particular workweeks in the above manner, thus ensuring that all such
     6 compensation was considered in TWC’s overtime calculations. (SUF, ¶26.) That is,
     7 while Plaintiffs contend that TWC sometimes calculated overtime on their scorecard
     8 and/or commission compensation over what they contend are the “wrong” periods of
     9 time, they cannot argue that TWC failed to allocate any such compensation to a
    10 workweek and thus failed to consider it in its overtime calculations.
    11         Rather, Plaintiffs contend only that to calculate overtime on such compensation
    12 over the “right” periods of time, TWC was required to take the total scorecard and
    13 commission compensation for the fiscal month and then divide that amount by the
    14 number of hours worked over the fiscal month and allocate that compensation to
    15 those fiscal month hours. (SUF, ¶27.) Thus, Plaintiffs’ theory would require TWC to
    16 wholly abandon its defined workweek (which it is required to establish and utilize
    17 under federal and state law) for purposes of paying overtime on Plaintiffs’ scorecard
    18 and commission compensation. (SUF, ¶28.)
    19 C.      Undisputed Facts Demonstrating That Plaintiffs’ Overtime Calculation
    20         Theories Would Have Significantly Reduced Their Compensation
    21         Notably, Plaintiffs’ novel attorney-driven theories, if implemented by TWC,
    22 would have significantly reduced Plaintiffs’ compensation (and that of other
    23 employees). That is, during the period from September 2, 2010 to termination,
    24 Vazquez received an additional $167.20 in overtime compensation pursuant to
    25 TWC’s overtime calculations that she would not have received if TWC had followed
    26 Plaintiffs’ proposed methodologies. (SUF, ¶32.) Joseph enjoyed an even greater
    27 benefit, receiving $346.47 in additional overtime compensation. (SUF, ¶33.)
    28
                                                 -7-
                        DEFS.’ NTC OF MTN AND MTN FOR SUMMARY JUDGMENT
Case 2:14-cv-07621-CAS-FFM Document 36 Filed 04/06/15 Page 16 of 33 Page ID #:853




     1 D. Undisputed Facts Relevant to the “Piece-Rate” Theory
     2         Plaintiffs contend that the commissions they received during their tenure with
     3 TWC were not bona-fide sales commissions, but were instead “piece-rate” payments.
     4 (SAC, ¶16, 21(d).) It is undisputed, however, that Plaintiffs were not paid for each
     5 customer interaction or transaction. (SUF, ¶36.) Instead, the compensation plans
     6 make clear that these payments were awarded to Plaintiffs only when they were
     7 successful in selling products and services to customers beyond those that the
     8 customers had prior to engaging in any interaction with Plaintiffs. (SUF, ¶37.) As
     9 shown infra, such payments are unquestionably commissions, as a matter of law.
    10                                    III.   ARGUMENT
    11         For the reasons set forth below, each of Plaintiffs’ theories of relief fails as a
    12 matter of law. Plaintiffs’ novel overtime theories fail because TWC did not underpay
    13 Plaintiffs, and its calculation methodologies are consistent with both federal and
    14 California law. Indeed, Plaintiffs have premised their claims upon federal regulations
    15 that simply do not require the sorts of calculations that Plaintiffs propose here, as
    16 shown below. Those regulations also doom Plaintiffs’ state law theories, as
    17 California law looks to federal law when determining an employee’s overtime rate of
    18 pay. Alonzo v. Maximus, Inc., 832 F. Supp. 2d 1122, 1129 (C.D. Cal. 2011).
    19 Plaintiffs’ wage statement theory fails in turn because Plaintiffs received
    20 commissions, not piece-rate payments. Finally, Plaintiffs’ derivative claims fail
    21 because the underlying claims on which they are premised are meritless, and because
    22 Plaintiffs improperly seek to use their derivative claims as a vehicle for an
    23 impermissible multiple recovery on their overtime claims.
    24 A. Plaintiffs’ “Hours Worked” Overtime Theory is Meritless
    25         Plaintiffs’ “hours worked” theory fails because TWC’s inclusion of PTO in its
    26 overtime calculations did not underpay Plaintiffs, nor is it unlawful.
    27
    28
                                                  -8-
                         DEFS.’ NTC OF MTN AND MTN FOR SUMMARY JUDGMENT
Case 2:14-cv-07621-CAS-FFM Document 36 Filed 04/06/15 Page 17 of 33 Page ID #:854




     1       1.   Plaintiffs Enjoyed a Tremendous Benefit From TWC’s Inclusion of PTO as
     2            “Hours Worked” When Determining Overtime
     3         Plaintiffs’ “hours worked” theory asserts that TWC was not permitted to count
     4 PTO hours as hours worked in calculating Plaintiffs’ overtime hours because,
     5 according to Plaintiffs, doing so diluted their regular rate of pay (and hence, their
     6 overtime pay) by a few pennies in weeks when they: (1) took paid time off; (2)
     7 worked overtime; and (3) received additional compensation that was factored into the
     8 regular rate (i.e., scorecard and commission payments). (SAC, ¶20(a).) They contend
     9 that this “consistently caused underpayment of overtime wages.” (Id.)
    10         However, Plaintiffs’ theory fails at the outset because it is based on a faulty
    11 premise; that is, the false assertion that including PTO in the hours worked
    12 calculations invariably decreased the amount of overtime compensation paid to
    13 Plaintiffs. (Id.) Quite the contrary, the undisputed facts demonstrate that TWC’s
    14 inclusion of PTO as “hours worked” greatly benefited Plaintiffs, as it resulted in the
    15 payment of substantial additional overtime premiums that would have been lost under
    16 Plaintiffs’ theory. The critical fact Plaintiffs ignore is that by including PTO as hours
    17 “actually worked,” TWC counted each PTO hour toward their overtime eligibility
    18 threshold of 8 hours per day or 40 hours per week and therefore paid Plaintiffs
    19 overtime premium compensation for hours that they did not actually work and to
    20 which they were not legally entitled. (SUF, ¶2-3.)
    21         The resulting benefit to Plaintiffs is obvious. For example, as indicated above,
    22 during the workweek ending January 19, 2012, Vazquez worked 5 days and accrued
    23 40.50 hours of on-the-job time (39.5 straight-time hours and 1 hour of overtime), but
    24 also received holiday pay for an additional 8 hours that she did not work (on Martin
    25 Luther King Day). (SUF, ¶4.) Under Plaintiffs’ theory—i.e., that PTO should not be
    26 counted as “hours worked”—Vazquez should have been credited with 47.5 straight
    27 time hours (39.5 worked hours + 8 PTO hours) and only one (daily) overtime hour,
    28 but she was instead credited with 40 straight time hours and 8.5 overtime hours
                                                  -9-
                         DEFS.’ NTC OF MTN AND MTN FOR SUMMARY JUDGMENT
Case 2:14-cv-07621-CAS-FFM Document 36 Filed 04/06/15 Page 18 of 33 Page ID #:855




     1 because she was deemed to have worked 48.50 hours (40.50 worked hours + 8 PTO
     2 hours). (SUF, ¶5.) Thus, Plaintiffs’ theory would have required Vazquez to give up
     3 the 7.5 additional hours of overtime she was credited with precisely because TWC
     4 included PTO as “hours worked” in the overtime calculation. (SUF, ¶6.) Ultimately,
     5 for this reason, Vazquez received over 70 dollars more this workweek under TWC’s
     6 method than under Plaintiffs’ method. (SUF, ¶7.)
     7         Thus, counting PTO as “hours worked” does not decrease the compensation
     8 due to employees. To the contrary, it increases it. In fact, if Plaintiffs were still
     9 employed by TWC, the relief they seek here would actually harm them (and other
    10 employees) significantly. The negative effect on total compensation paid to TWC’s
    11 current and future employees that would result from a ruling in Plaintiffs’ favor runs
    12 directly counter to both the FLSA’s and California’s stated legislative intent to protect
    13 and benefit employees. See Gonzalez v. Downtown LA Motors, LP, 215 Cal. App. 4th
    14 36, 44 (2013) (noting that wage and hour laws are to be construed in favor of
    15 protecting workers); Barrentine v. Arkansas-Best Freight Sys., Inc., 450 U.S. 728,
    16 739 (1981) (holding congressional purpose behind FLSA “was to protect all covered
    17 workers from substandard wages”). Thus, Plaintiffs’ theory must be rejected, as it
    18 would work a substantial detriment to employees.
    19       2.   The Law Permits PTO Hours to be Included in “Hours Worked”
    20         Given that TWC’s practice of counting PTO as hours worked for overtime
    21 purposes greatly benefits employees, it is not surprising that it is also lawful. That is,
    22 while employers are not required to include PTO in calculating overtime hours
    23 worked, they are permitted to do so. Thus, the Department of Labor (“DOL”)
    24 regulations implementing the FLSA specifically provide:
    25         Payments which are made for occasional periods when the employee
               is not at work due to vacation, holiday, illness, failure of the employer
    26         to provide sufficient work, or other similar cause. . . may be excluded
    27         from the regular rate of pay under section 7(e)(2) of the Act.
    28
                                                 -10-
                         DEFS.’ NTC OF MTN AND MTN FOR SUMMARY JUDGMENT
Case 2:14-cv-07621-CAS-FFM Document 36 Filed 04/06/15 Page 19 of 33 Page ID #:856




     1 29 C.F.R. § 778.218 (“Section 778.218”) (emphasis added); see also O'Brien v. Town
     2 of Agawam, 482 F. Supp. 2d 115, 117 (D. Mass. 2007) (“[N]othing in the FLSA
     3 prevents an employer from voluntarily adding non-work pay to the regular rate”).
     4         Plaintiffs entirely ignore this regulation. Indeed, despite the permissive
     5 language of Section 778.218, Plaintiffs argue that an employer must always exclude
     6 PTO from the regular rate calculation. As support for that erroneous argument,
     7 Plaintiffs’ SAC relies upon 29 C.F.R. § 778.109, which states that:
     8         The regular hourly rate of pay of an employee is determined by
               dividing his total remuneration for employment (except statutory
     9         exclusions) in any workweek [i.e., the “dividend” of the regular rate
               calculation] by the total number of hours actually worked by him in
    10         that workweek for which such compensation was paid [the “divisor”].
    11 29 C.F.R. § 778.109 (“Section 778.109”).
    12       Plaintiffs’ theory fails as a matter of law, as they read Section 778.109 in
    13 isolation and out of context. Indeed, Plaintiffs’ construction is nonsensical, as they
    14 construe this regulation to mean that an employer can never include PTO in “hours
    15 actually worked,” even where, as here, they include PTO in the “total remuneration”
    16 portion of the calculation (and when determining total hours worked in a day or
    17 week). Mandating such inconsistent treatment of PTO hours is neither the letter nor
    18 the intent of Section 778.109. Rather, when read in conjunction with Section
    19 778.218—which specifically permits, but does not require, TWC to exclude PTO
    20 from “total remuneration”—it is clear that the intent of Section 778.109 was only to
    21 prohibit an employer from including PTO in “hours actually worked” in the event
    22 that the employer has elected to exclude PTO from “total remuneration” under
    23 Section 778.218. That is, were it not for Section 778.109, an employer could unfairly
    24 dilute an employee’s regular rate of pay by utilizing the Section 778.218 statutory
    25 exclusion to exclude PTO payments from “total remuneration” yet, at the same time,
    26 include PTO hours in “hours actually worked.” It is this abuse that Section 778.109
    27
    28
                                                 -11-
                         DEFS.’ NTC OF MTN AND MTN FOR SUMMARY JUDGMENT
Case 2:14-cv-07621-CAS-FFM Document 36 Filed 04/06/15 Page 20 of 33 Page ID #:857




     1 seeks to prevent, not the consistent, fair and highly beneficial treatment of PTO as
     2 “hours worked” that TWC has implemented.
     3         Indeed, in this case it is undisputed that TWC did not manipulate PTO hours to
     4 dilute Plaintiffs’ overtime pay in violation of Section 778.109. TWC did not avail
     5 itself of the Section 778.218 statutory exclusion, as it could have, but instead counted
     6 PTO as “hours actually worked” for all purposes of its overtime and regular rate
     7 calculations, including in calculating both “total remuneration” and total hours
     8 worked. Thus, because Plaintiffs received credit for PTO as “hours actually worked”
     9 towards overtime, as well as in the remuneration portion of the Section 778.109
    10 calculation, TWC also properly treated PTO as “hours actually worked” in that same
    11 calculation. This was entirely lawful. See Aaron v. City of Wichita, Kan., 54 F. 3d
    12 652, 656 (10th Cir. 1995) (rejecting employees’ argument that certain paid days off
    13 “should not have been included in the divisor [i.e., in “hours actually worked”] for
    14 purposes of calculating the regular rate”).
    15         In sum, Plaintiffs’ “hours worked” theory of excluding PTO from “hours
    16 worked” for all purposes is the ultimate example of an attorney-driven claim that, if
    17 successful, would line counsel’s pockets while resulting in a significant loss in
    18 compensation to employees. As shown above, Plaintiffs’ theory is erroneous, and
    19 summary judgment for TWC is therefore appropriate.
    20 B.      Plaintiffs’ “Fiscal Month” Overtime Theory is Meritless
    21         Again, there is no dispute that TWC included every penny of Plaintiffs’
    22 scorecard and commission payments in their overtime calculations. Nonetheless,
    23 Plaintiffs contend that TWC violated the law by allocating those payments across its
    24 defined workweeks and then calculating the overtime due on that compensation on a
    25 workweek-by-workweek basis. Specifically, Plaintiffs’ counsel contend that when
    26 Plaintiffs earned scorecard and commission compensation on a “fiscal month” basis
    27 (i.e., from the 19th of one month to the 18th of the following month), and that fiscal
    28 month did not perfectly match TWC’s defined workweeks, TWC was required to
                                                 -12-
                         DEFS.’ NTC OF MTN AND MTN FOR SUMMARY JUDGMENT
Case 2:14-cv-07621-CAS-FFM Document 36 Filed 04/06/15 Page 21 of 33 Page ID #:858




     1 allocate that compensation back over the exact hours of the “fiscal month” pay cycle
     2 and calculate the overtime due on a fiscal month, rather than workweek, basis. (SAC,
     3 ¶20(b), SUF, ¶26-27.) That theory fails as a matter of law because: (1) overtime must
     4 be calculated on a defined workweek basis; (2) TWC’s allocation by workweeks is
     5 exactly what the applicable regulations contemplate; and (3) TWC’s method is
     6 obviously equitable and just.
     7       1.   Overtime Calculations Must Be Made On a Workweek Basis
     8         As explained above, TWC—like every other employer—has established a
     9 defined workweek for purposes of calculating overtime owed to its employees. There
    10 is simply no question that, under both state and federal law, employers are required to
    11 establish a defined workweek and then calculate and pay overtime compensation on a
    12 workweek-by-workweek basis. See, e.g., 29 U.S.C. § 207(a)(1) [“Section 7(a)”]
    13 (“[N]o employer shall employ any of his employees who in any workweek is engaged
    14 in commerce … for a workweek longer than forty hours unless such employee
    15 receives compensation for his employment in excess of the hours above specified at a
    16 rate not less than one and one-half times the regular rate at which he is employed”);
    17 29 C.F.R. § 778.103 (“The workweek as the basis for applying [S]ection 7(a)”); 29
    18 C.F.R. § 778.109 (“[I]t is necessary to compute the regular hourly rate of such
    19 employees during each workweek”); Magnoni v. Smith & Laquercia, 483 F. App’x
    20 613, 615 (2d Cir. 2012) (rejecting plaintiff’s argument as “[s]he persistently
    21 calculated her overtime on a daily basis, rather than on the basis of a 40–hour
    22 workweek as required by the statute”); Chavez v. City of Albuquerque, 630 F.3d 1300,
    23 1304-05 (10th Cir. 2011) (“The regular rate is the hourly rate actually paid for the
    24 normal, non-overtime workweek”); Boston v. United Florala, Inc., No. 2:14CV240-
    25 WHA, 2015 WL 1020577, at *1 fn. 1 (M.D. Ala. Mar. 9, 2015) (noting “general
    26 requirement of section 7(a) that overtime compensation be computed on a workweek
    27 basis”); DLSE Manual (see Defendants’ concurrently-filed Request for Judicial
    28 Notice (“RJN”), Ex. A), at § 49.2.1.2 (“Compute the regular rate by dividing the total
                                                 -13-
                         DEFS.’ NTC OF MTN AND MTN FOR SUMMARY JUDGMENT
Case 2:14-cv-07621-CAS-FFM Document 36 Filed 04/06/15 Page 22 of 33 Page ID #:859




     1 earnings for the week, including earnings during overtime hours, by the total hours
     2 worked during the week, including the overtime hours”); Taylor v. West Marine
     3 Prods., Inc., No. C 13–04916 WHA, 2014 WL 4683926, at *5 (N.D. Cal. Sept. 19,
     4 2014) (defining “regular rate of pay” as “total remuneration in a workweek divided by
     5 the total number of hours actually worked in that workweek); Monzon v. Schaefer
     6 Ambulance Serv., 224 Cal.App.3d 16, 22 (1990) (“[T]he proper method to use in
     7 calculating overtime is one in which the employer must identify at week's end all
     8 hours worked by an employee during that workweek and pay overtime based upon the
     9 excess of total hours over the greater of either: (1) eight hours in a workday, including
    10 double time, or (2) forty hours in a workweek”) (emphasis added).
    11           Here, the novel theory concocted by Plaintiffs’ counsel demands that TWC
    12 abandon the defined workweek and instead calculate overtime due on the commission
    13 and scorecard compensation on a fiscal month basis. As shown above, that theory is
    14 entirely inconsistent with the fundamental premise and requirement of state and
    15 federal law that overtime be calculated on the basis of the employer’s defined
    16 workweek. Accordingly, Plaintiffs’ theory fails as a matter of law on this basis alone.
    17          2.   TWC’s Allocation Method Is Consistent With the Applicable Regulations
    18           Furthermore, even if the Court were to entertain Plaintiffs’ novel (erroneous)
    19 theory that TWC could be required, or even permitted, to calculate overtime on
    20 something other than a workweek-by-workweek basis, the theory would still fail
    21 because TWC’s allocation and calculation methodologies are entirely consistent with
    22 the applicable regulations. Indeed, the plain language of the DOL regulation upon
    23 which Plaintiffs’ theory relies—29 C.F.R. § 778.1193—actually supports TWC’s
    24 allocation and calculation by workweek, rather than Plaintiffs’ proposed
    25 methodology. That regulation states:
    26           When the commission can be computed and paid, additional overtime
                 compensation due by reason of the inclusion of the commission in the
    27
    28   3
             See SAC, ¶20(b).
                                                   -14-
                           DEFS.’ NTC OF MTN AND MTN FOR SUMMARY JUDGMENT
Case 2:14-cv-07621-CAS-FFM Document 36 Filed 04/06/15 Page 23 of 33 Page ID #:860




               employee's regular rate must also be paid. To compute this additional
     1         overtime compensation, it is necessary, as a general rule, that the
     2         commission be apportioned back over the workweeks of the period
               during which it was earned.
     3
         29 C.F.R. § 778.119 (emphasis added).
     4
               Thus, Plaintiffs’ theory is specious. The entire basis of their theory is that,
     5
         rather than allocating scorecard and commission compensation back to certain
     6
         workweeks—as contemplated by the very regulation upon which they rely—TWC
     7
         was required to allocate said compensation back over specific hours of the “fiscal
     8
         month” period. (SUF, ¶26-27.) However, the plain language of the regulation simply
     9
         does not support that argument.
    10
               Moreover, Plaintiffs (again) read this regulation out of context with the
    11
         surrounding regulations. In fact, the very next regulation provides that:
    12
               If it is not possible or practicable to allocate the commission among the
    13         workweeks of the period in proportion to the amount of commission
               actually earned or reasonably presumed to be earned each week, some
    14         other reasonable and equitable method must be adopted.
    15 29 C.F.R. § 778.120 (emphasis added).4 The regulation then goes on to endorse the
    16 very method of allocation TWC utilized, that is, summing scorecard and
    17 commission payments over the period earned and then dividing them equally
    18 among the workweeks of the corresponding pay period. See 29 C.F.R. § 778.120(a)
    19 (“Allocation of equal amounts to each week”). Thus, not only is there no authority
    20 barring TWC’s workweek methodology, that methodology is expressly endorsed by
    21 DOL regulations.
    22
    23       3.   TWC’s Methodology Is Reasonable and Equitable
    24         Finally, there is no question that TWC’s methodology meets the “reasonable
    25 and equitable” standard of 29 C.F.R. § 778.120. First, given that both state and
    26
    27   4
        There are an analogous set of regulations that apply to the reallocation of scorecard
    28 compensation. See 29 C.F.R. § 778.209(a)-(b).
                                                 -15-
                         DEFS.’ NTC OF MTN AND MTN FOR SUMMARY JUDGMENT
Case 2:14-cv-07621-CAS-FFM Document 36 Filed 04/06/15 Page 24 of 33 Page ID #:861




     1 federal law generally require employers to calculate compensation based on defined
     2 workweeks, it was entirely reasonable for TWC do so here.
     3         Second, TWC’s apportionment over the most closely aligned workweeks was
     4 also eminently reasonable given that 29 C.F.R. § 778.119 expressly contemplates
     5 apportionment of commissions across workweeks, as shown above.
     6         Third, Plaintiffs’ own experiences show that TWC’s methodology is reasonable
     7 and equitable, as that methodology is not calculated to underpay employees, nor does
     8 it weigh the scales against its employees. Rather, whether an employee gains, loses
     9 or breaks even under either methodology turns upon whether the employee worked
    10 more overtime in the workweeks to which TWC allocated the compensation, or
    11 instead during the “outlier” days of the fiscal month period that Plaintiffs would use.
    12 Thus, again, it is clear that TWC’s methodology—which tracks the language and
    13 intent of the applicable regulations—was “reasonable and equitable.”
    14         Finally, the administrative feasibility of TWC’s methodology, and the
    15 corresponding infeasibility of Plaintiffs’ proposal, also compels the conclusion that
    16 TWC’s workweek methodology was not only reasonable and equitable, but necessary.
    17 TWC, like every other employer, is required to calculate regular overtime pay on a
    18 workweek-by-workweek basis. If TWC were forced to begin recalculating overtime
    19 attributable to scorecard and commission payments on a fiscal month basis, it would
    20 face enormous difficulties in trying to harmonize that system with the requirement
    21 that it calculate and pay other compensation—including the original overtime due to
    22 employees— on a workweek-by-workweek basis. This difficulty is recognized in
    23 Section 778.119 itself, which requires that while the employer is waiting to total and
    24 reallocate the commission compensation earned, it must pay normal overtime
    25 “exclusive of the commission,” and later calculate the additional compensation owed
    26 as a result of the restated overtime rate that includes commission. 29 C.F.R. §
    27 778.119. Yet if normal overtime (one and one-half times the straight time rate) is
    28 calculated on a workweek-by-workweek basis (as it must be), and restated overtime
                                                 -16-
                         DEFS.’ NTC OF MTN AND MTN FOR SUMMARY JUDGMENT
Case 2:14-cv-07621-CAS-FFM Document 36 Filed 04/06/15 Page 25 of 33 Page ID #:862




     1 (inclusive of commission) was calculated and paid on a fiscal month basis, as
     2 Plaintiffs demand, there would be no way to compare the two figures to determine
     3 how much additional overtime is owed. (SUF, ¶21-25.) That is, the recalculated
     4 overtime premiums could never be matched to the corresponding original premiums
     5 because the calculations would not be based on the same hours worked. (Id.)
     6         Another example of the infeasibility of Plaintiffs’ theory is demonstrated when
     7 one attempts to actually apply Plaintiffs’ theory to recalculate overtime wages in a
     8 situation where a workweek is split between two fiscal months and there is weekly
     9 overtime in that workweek. That is, if weekly overtime is worked in a workweek that
    10 falls across two separate fiscal months, Plaintiffs’ fiscal month calculation would only
    11 apply to a portion of the workweek, leaving no accurate way to account for this
    12 weekly overtime.5 (Declaration of J. Scott Carr filed concurrently herewith (“Carr
    13 Decl.”), ¶ 6.) Thus, these circumstances show not only that TWC’s methodology is
    14 reasonable and equitable, but also that Plaintiffs’ novel theory is infeasible to apply.
    15 In short, TWC’s workweek methodology is precisely what the law contemplates, as
    16 well as reasonable and equitable. On the other hand, Plaintiffs’ novel, ad hoc “fiscal
    17 month” proposal is not supported by law, much less mandated by it. Thus, Plaintiffs’
    18 “fiscal month” theory fails as a matter of law.
    19
    20
         5
           In attempting to apply Plaintiffs’ fiscal month theory so as to compare it to
    21
         Plaintiffs’ actual pay (and trying to account for all overtime hours worked by
    22   Plaintiff), TWC elected to take the weekly overtime earned in a workweek that fell
         within two different fiscal months and apply it all to one fiscal month, such that the
    23
         weekly overtime worked in that workweek was counted in Plaintiffs’ fiscal month
    24   theory. However, to do so, TWC had to ignore the fact that it was applying Plaintiffs’
    25   fiscal month calculation to days in a workweek that fell outside a given fiscal month,
         thus crediting Plaintiffs with overtime pay that they were not actually entitled to
    26   under their theory. Had TWC applied Plaintiffs’ theory for that workweek, no
    27   overtime hours could be credited as the two parts of the workweek fell in different
         fiscal months, Plaintiffs would not have worked over 40 hours in either part of that
    28   workweek, and those overtime hours could not have been credited. (Carr Decl., ¶ 6.)
                                                 -17-
                         DEFS.’ NTC OF MTN AND MTN FOR SUMMARY JUDGMENT
Case 2:14-cv-07621-CAS-FFM Document 36 Filed 04/06/15 Page 26 of 33 Page ID #:863




     1 C.      Plaintiffs’ Overtime Theories Fail Because They were not Underpaid
     2         Of course, Plaintiffs’ novel overtime claims fail not only because TWC’s
     3 overtime calculation methodologies are consistent with both the plain language and
     4 spirit of the law (see supra Parts III.A and III.B), but also because they simply were
     5 not underpaid. Indeed, as shown above, the undisputed facts demonstrate that TWC’s
     6 challenged methodologies resulted in both Plaintiffs being paid vastly more than they
     7 would have been pursuant to Plaintiffs’ proposed methodologies of excluding paid
     8 time off from “hours worked” and of calculating overtime owed on scorecard and
     9 commission on a fiscal month basis. In total, during the relevant time period,
    10 Vazquez received $167.20 in overtime compensation she would not have received
    11 under Plaintiffs’ theories, while Joseph enjoyed an even greater benefit, receiving
    12 $346.47 in additional overtime. (SUF, ¶32-33.) Because no liability lies under either
    13 the FLSA or California law when there has been no underpayment, Plaintiffs’ theories
    14 fail. See Am. Fed. of Govt. Employees, Local 3721 v. District of Columbia, 715 F.
    15 Supp. 391, 392 (D.D.C. 1989) (finding no liability where employer “has, in fact, paid
    16 overtime compensation equal to or greater than the federally-required minimum
    17 amount”); Alonzo, 832 F. Supp. 2d at 1129.
    18 D. Plaintiffs Lack Constitutional Standing to Pursue Their Overtime Theories
    19         For the same reason—i.e., that Plaintiffs were paid vastly more under TWC’s
    20 overtime methodologies than under their own proposed methodologies (SUF, ¶32-
    21 33)—Plaintiffs have suffered no “injury in fact” sufficient to confer Article III
    22 constitutional standing to pursue either of their overtime theories against TWC.
    23 Susan B. Anthony List v. Driehaus, 134 S. Ct. 2334, 2341 (2014).
    24 E.    Plaintiffs’ “Piece-Rate” Wage Statement Theory is Meritless
    25         The essence of Plaintiffs’ “piece-rate” theory is that TWC provided wage
    26 statements that failed to itemize each and every sale for which Plaintiffs earned a
    27 commission payment, as such payments should have been characterized as piece-rate
    28 payments. (SAC, ¶16, 21(d).) This theory can be easily disposed of, however, as the
                                                 -18-
                         DEFS.’ NTC OF MTN AND MTN FOR SUMMARY JUDGMENT
Case 2:14-cv-07621-CAS-FFM Document 36 Filed 04/06/15 Page 27 of 33 Page ID #:864




     1 law is clear that the payments were bona-fide sales commissions, not piece-rate
     2 payments, and California law requires that a wage statement provide such detail only
     3 “if the employee is paid on a piece-rate basis.” Cal. Lab. Code § 226(a).
     4         Indeed, a commission rewards employees for each product they sell to a
     5 customer (how Plaintiffs were paid), while a piece-rate payment rewards employees
     6 for each item they create or each job they complete (not how Plaintiffs were paid).
     7 (DLSE Manual (RJN, Ex. A) at §§ 2.5.1-2.5.2, 2.5.4.) Nonetheless, Plaintiffs
     8 apparently (and incorrectly) contend that TWC’s commission payments to Plaintiffs
     9 were based on uniform dollar amounts, and therefore were not actually commissions,
    10 but were instead “piece-rate” payments. (SAC, ¶16.) Not so.
    11         In Areso v. Carmax (“Areso”), the California Court of Appeal expressly
    12 rejected the argument Plaintiffs make here, holding that a payment system which
    13 compensated car salesmen with “a uniform dollar amount per vehicle” sold was a
    14 commission system, not a piece-rate system. 195 Cal. App. 4th 996, 1007, 1008-09
    15 (2011). Likewise, in Alvarado v. Corporate Cleaning Serv., Inc., 07 C 06361, 2013
    16 WL 6184044 (N.D. Ill. Nov. 18, 2013), the court made the following observation:
    17           [A]t the highest level of abstraction, the same event appears to trigger
                 payments to employees under both [commission and piece-rate]
    18           systems: completion of the employee’s assigned task. [For example,]
                 a quilt maker gets paid when the quilter completes a quilt, and a real
    19           estate broker is paid every time the broker sells a house. Yet one is
    20           piecework and the other a commission. ... [T]he essence of a
                 commission is that it bases compensation on sales and decouples
    21           worker pay from actual time worked. In contrast, although a
                 pieceworker’s pay is also decoupled from actual time worked, a
    22           piece-rate system does not directly depend on sales.
    23   Id. at *6 (emphasis added).
    24         Here, it is undisputed that Plaintiffs received “commissions” only when they

    25 sold a product or service to a customer beyond those the customer had before
    26 interacting with Plaintiffs. (SUF, ¶36-37.) It is equally undisputed that Plaintiffs
    27 were not paid per customer service interaction they completed. (Id.) Because an
    28 employee compensated for every sale he makes is paid on commission, not on a
                                                 -19-
                         DEFS.’ NTC OF MTN AND MTN FOR SUMMARY JUDGMENT
Case 2:14-cv-07621-CAS-FFM Document 36 Filed 04/06/15 Page 28 of 33 Page ID #:865




     1 piece-rate basis—and it makes no difference if the amount of the commission was
     2 based on a uniform dollar amount per sale, see Areso—Plaintiffs did not receive
     3 piece-rate payments and their wage statement claim fails.
     4 F.    Plaintiffs May Not Use Entirely Derivative Wage Statement and Waiting
     5       Time Claims to Inflate Their Alleged Damages
     6         Finally, in an attempt to inflate the damages alleged on their overtime theories,
     7 Plaintiffs also allege that TWC’s purported overtime miscalculations give rise to
     8 derivative claims for wage statement and waiting time penalties under California law.
     9 (SAC, ¶21(a)-(c), 23.) Of course, as set forth above, these derivative claims fail at the
    10 outset because the underlying claims on which they depend fail. (See supra Parts
    11 III.A-D.) Regardless, these claims also fail for the additional reasons that: (1)
    12 Plaintiffs’ wage statements were accurate, caused no injury to Plaintiffs and were not
    13 the product of any “knowing and intentional” violation of the statute; (2) Plaintiffs
    14 were not owed additional monies at discharge, and thus have no waiting time claim;
    15 and (3) there is a good faith dispute as to whether the wages at the heart of these
    16 theories were owed. In fact, as shown below, Plaintiffs do not even invoke these
    17 statutes for their intended purposes, but instead seek to use them to obtain an
    18 impermissible multiple recovery on their claims for unpaid overtime wages.
    19       1.   Plaintiffs’ Derivative Wage Statement Claim Fails Because Their Wage
    20            Statements Complied with Labor Code Section 226
    21       California Labor Code section 226 requires employers to furnish employees with
    22 wage statements showing “all applicable hourly rates in effect during the pay period
    23 and the corresponding number of hours worked at each hourly rate by the employee.”
    24 Cal. Lab. Code § 226(a)(9). An employee is entitled to recover statutory damages
    25 when, “as a result of a knowing and intentional failure” to furnish such a wage
    26 statement, the employee “suffer[s] injury.” Cal. Lab. Code § 226(e)(1). An employee
    27 suffers injury when: (1) “the employer fails to provide accurate and complete
    28 information as required;” and, as a result, (2) “the employee cannot promptly and
                                                 -20-
                         DEFS.’ NTC OF MTN AND MTN FOR SUMMARY JUDGMENT
Case 2:14-cv-07621-CAS-FFM Document 36 Filed 04/06/15 Page 29 of 33 Page ID #:866




     1 easily determine from the wage statement [either] [t]he amount of the gross wages or
     2 net wages paid to the employee during the pay period or any of the other information
     3 required to be provided on the itemized wage statement.” Cal. Lab. Code § 226(e)(2).
     4         Here, Plaintiffs’ derivative wage statement claim fails at the very threshold
     5 because their wage statements were accurate; that is, it is undisputed that Plaintiffs’
     6 wage statements accurately reflected what (and how) Plaintiffs were actually paid.
     7 Indeed, Plaintiffs do not contend that the wage statements failed to accurately report
     8 their actual compensation, but instead that their wage statements were required to
     9 display the overtime rate and wages they now claim they should have received (under
    10 their two overtime theories). (SAC, ¶21(a).) Thus, Plaintiffs contend, literally, that to
    11 comply with a statute mandating accurate wage statements, TWC was required to
    12 provide inaccurate wage statements. That argument is obviously untenable, and must
    13 be rejected. Indeed, the flaw in Plaintiffs’ argument is apparent from a plain reading
    14 of the statute. That is, any purported failure by TWC to list the overtime rate and
    15 wages they claim they should have received (but did not receive) could not have
    16 injured them by causing them to be unable to “promptly and easily” determine the
    17 rate or wages they did receive and which were correctly listed on the wage statement.
    18 Cal. Lab. Code § 226(e)(2). Plaintiffs’ Section 226 claim fails on that basis, as well.
    19         Plaintiffs’ theory is also antithetical to the clear purpose of the statute, as “the
    20 legislative history shows that the purpose of Section 226 was for transparency, not for
    21 double recovery.” Jones v. Spherion Staffing LLC, LA CV11-06462 JAK, 2012 WL
    22 3264081, at *9 (C.D. Cal. Aug. 7, 2012); see also Nguyen v. Baxter Healthcare
    23 Corp., 8:10-CV-01436-CJC, 2011 WL 6018284, at *8 (C.D. Cal. Nov. 28, 2011)
    24
    25
    26
    27
    28
                                                 -21-
                         DEFS.’ NTC OF MTN AND MTN FOR SUMMARY JUDGMENT
Case 2:14-cv-07621-CAS-FFM Document 36 Filed 04/06/15 Page 30 of 33 Page ID #:867




     1 (same).6 There is no question that Plaintiffs impermissibly invoke Section 226 as a
     2 scheme for multiple recovery on their underlying unpaid overtime claims, not to
     3 remedy any actual inaccuracy in their wage statements. Indeed, Plaintiffs’ argument
     4 would automatically convert a small claim for unpaid wages into one worth hundreds
     5 or thousands of times as much simply by bootstrapping an entirely derivative claim
     6 for wage statement penalties (or for waiting time penalties, as discussed below). See
     7 Jones, 2012 WL 3264081, at *9 (providing example where purported underpayment
     8 of $10 would result in a total minimum liability exceeding $2,500 when including
     9 derivative wage statement and waiting time penalties, and rejecting the idea that such
    10 a penalty was intended to apply to a purported underpayment). As the Jones and
    11 Nguyen courts observed, there is no support in the legislative history of Section 226
    12 for this audacious assertion. Section 226 was intended to deter employers from
    13 providing employees with threadbare wage statements that do not properly inform
    14 them as to how they were being paid. Id. It was not—nor could it be—intended to
    15 deter employers from underpaying their employees in the first instance, which is what
    16 Plaintiffs necessarily contend by arguing that TWC’s alleged underpayment of
    17 overtime premiums automatically triggers wage statement penalties.
    18         Lastly, even if Plaintiffs could establish that TWC’s alleged overtime
    19 miscalculations could somehow give rise to a bootstrapped wage statement claim,
    20   6
          The state court opinion referenced by the Jones and Nguyen courts analyzed Section
    21 226’s legislative materials and found that “§ 226(a) is intended to ensure that
       employers provide accurate itemized wage statements to employees, not to govern
    22 employers’ obligations with respect to meal periods.” Brian Driscoll, et. al. v.
    23 Graniterock Company, 1-08-CV-103426, 2011 WL 10366147 (Santa Clara Cty. Sup.
       Ct. Sept. 20, 2011) (emphasis added). Although the alleged underpayment in this
    24 case is not related to meal periods, the analysis is equally applicable as there is
       likewise no suggestion here that Section 226 was intended to govern employers’
    25 obligations with respect to overtime wages. While a small number of district courts
    26 have declined to follow Jones and Nguyen on this issue, none engage in any reasoned
       analysis of the legislative history of Section 226 (as did the Driscoll court) and are
    27 unpersuasive for that reason. See, e.g., Bellinghausen v. Tractor Supply Co., C-13-
       02377 JSC, 2014 WL 465907, at *8 (N.D. Cal. Feb. 3, 2014) (noting no cases cited
    28 by plaintiff in favor of derivative wage statement claim engaged in any such analysis).
                                                -22-
                        DEFS.’ NTC OF MTN AND MTN FOR SUMMARY JUDGMENT
Case 2:14-cv-07621-CAS-FFM Document 36 Filed 04/06/15 Page 31 of 33 Page ID #:868




     1 Plaintiffs still cannot prevail because they cannot show that TWC’s purported conduct
     2 was “knowing and intentional.” Cal. Lab. Code § 226(e)(1). “The good faith defense
     3 to the willfulness element of [a wage statement claim] is clearly established under
     4 California law.” Pedroza v. PetSmart, Inc., ED CV 11-298 GHK DTB, 2012 WL
     5 9506073, at *4-5 (C.D. Cal. June 14, 2012) (citing Section 226(e)). As shown above,
     6 TWC’s alleged overtime methodologies directly benefited Plaintiffs, and at least one
     7 method proposed by Plaintiffs is administratively infeasible. Clearly, then, TWC’s
     8 alleged methodologies were implemented in good faith, and Plaintiffs have produced
     9 no evidence to the contrary. Moreover, TWC has presented legitimate legal defenses
    10 to Plaintiff’s novel theories, which is in and of itself fatal to the “knowing and
    11 intentional” element of the wage statement claim, even if the Court ultimately rejects
    12 the defenses. See Pedroza, 2012 WL 9506073, at *4-5 (rejecting employer’s
    13 overtime defense but nevertheless dismissing plaintiff’s wage statement claim on
    14 ground that defense was at least “reasonable [and] supported by evidence”).
    15 Accordingly, Plaintiffs’ derivative claim for inaccurate wage statements fails.
    16       2.   Plaintiffs’ Waiting Time Claim Fails Because They Were Overpaid
    17         Plaintiffs also attempt to assert a derivative claim for waiting time penalties
    18 under California Labor Code sections 203. That statute provides that if an employer
    19 “willfully fails to pay” all wages owed at the time of discharge, “the wages of the
    20 employee shall continue as a penalty from the due date thereof at the same rate until
    21 paid or until an action therefor is commenced; but the wages shall not continue for
    22 more than 30 days.” Cal. Lab. Code § 203.
    23         Here, there is no dispute that Plaintiffs were paid their final wages immediately
    24 upon their termination from TWC. Rather, Plaintiffs contend only that because TWC
    25 purportedly underpaid them for pennies’ worth of overtime at various times during
    26 the course of their employment, those pennies remained due and owing at the time of
    27 their termination. (SAC, ¶23.) Thus, like their derivative wage statement claim,
    28 Plaintiffs’ Section 203 claim seeks an impermissible multiple recovery on their claims
                                                 -23-
                         DEFS.’ NTC OF MTN AND MTN FOR SUMMARY JUDGMENT
Case 2:14-cv-07621-CAS-FFM Document 36 Filed 04/06/15 Page 32 of 33 Page ID #:869




     1 for unpaid overtime. See Jones, 2012 WL 3264081 at *9 (entering judgment for
     2 defendant on both derivative wage statement and waiting time claims as they “would
     3 result in an improper, multiple recovery by the employee”). Accordingly, Plaintiffs’
     4 claim for waiting time penalties should be rejected on that basis alone.
     5         In any event, Plaintiffs’ waiting time claim also fails for the obvious reason
     6 that, notwithstanding Plaintiffs’ novel theories, it is undisputed that Plaintiffs had not
     7 suffered any underpayment at the time of their discharge. That is, as shown above,
     8 TWC’s counting of PTO time towards hours worked for purposes of overtime
     9 compensation paid Plaintiffs hundreds of dollars more in overtime compensation than
    10 required by law—amounts that dwarf the pennies in underpayments that Plaintiffs
    11 claim under their novel, attorney-invented theories. Thus, because undisputed facts
    12 show that TWC could not have owed Plaintiffs any additional compensation at the
    13 time of their discharge, their Section 203 claim fails as a matter of law.
    14       3.   Plaintiffs’ Claim for Waiting Time Penalties Fails Because There is a Good
    15            Faith Dispute as to Whether There Are Any Unpaid Wages Owed
    16         Finally, like their derivative wage statement claim, the waiting time claim also
    17 fails because “a good faith dispute that any wages are due will preclude imposition of
    18 waiting time penalties under Section 203.” 8 Cal. Code Regs. § 13520 (emphasis
    19 added). A “good faith dispute ... occurs when an employer presents a defense, based
    20 in law or fact which, if successful, would preclude any recovery on the part of the
    21 employee.” Id. “The fact that a defense is ultimately unsuccessful will not preclude a
    22 finding that a good faith dispute did exist.” Id. Here, as set forth above (see supra
    23 Parts III.A-C), TWC has a legitimate, good faith defense to the payment of the
    24 overtime wages to which Plaintiffs allege they are entitled. Assuming the Court
    25 agrees with TWC’s defense, the question of whether to award waiting time penalties
    26 is of course moot. However, even if the Court does not agree, it is clear there is a
    27 “good faith dispute” as to whether those wages were owed, especially given the
    28 novelty of the overtime theories upon which Plaintiffs rely. Indeed, TWC’s practice
                                                 -24-
                         DEFS.’ NTC OF MTN AND MTN FOR SUMMARY JUDGMENT
Case 2:14-cv-07621-CAS-FFM Document 36 Filed 04/06/15 Page 33 of 33 Page ID #:870




     1 was borne out of a genuine desire to compensate its employees, not merely in
     2 compliance with the FLSA and California law, but in excess of those requirements.
     3 Further, Plaintiffs have not identified any case in which TWC’s alleged overtime
     4 calculations were found to be unlawful. Rather, the case law, as well as the statutory
     5 and regulatory authority, supports TWC’s calculations. These facts show, as a matter
     6 of law, a “good faith dispute” that precludes the imposition of waiting time penalties.
     7 8 Cal. Code Regs. § 13520.
     8         In sum, if Plaintiffs’ derivative claims were validated by the Court, there would
     9 be no possible way for an employer to comply with the wage statement and waiting
    10 time penalty statutes if it were ever found to have underpaid an employee, even by a
    11 miniscule amount, even if the employer had calculated the employee’s wages with a
    12 good faith belief that it was complying with the law and even if it had issued wage
    13 statements that accurately reflected the amounts paid to the employee. As discussed
    14 above, not only would such a ruling fly in the face of the plain language of the
    15 statutes, the Court would have to affirmatively find that these statutes were intended
    16 to act as a deterrent to an employer’s underpayment of wages. Not only is there is no
    17 such indication in the statutes or the controlling case law, the indication is to the
    18 contrary. Accordingly, these derivative claims fail as a matter of law.
    19                                   IV.    CONCLUSION
    20         For the foregoing reasons, summary judgment must be entered for Defendants
    21 on each of Plaintiffs’ claims.
    22
    23 Dated: April 6, 2015                     WARGO & FRENCH LLP
    24
                                                By: s/ J. Scott Carr
    25                                              J. SCOTT CARR
    26                                              JEFFREY N. WILLIAMS

    27                                          Attorneys for Defendants
    28
                                                 -25-
                         DEFS.’ NTC OF MTN AND MTN FOR SUMMARY JUDGMENT
